Case 1:24-cr-00026-BAH Document 20 Filed 01/30/24 Page 1 of 15

CEM: USAO# 2023R00738
PEB 01.27.24

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MARYLAND

UNITED STATES OF AMERICA CRIMINAL NO. bat 5 3
Ct Ho

Vv. (Sexual Exploitation of a Child,
18 U.S.C. § 2251(a) and (e); Coercion
ERIK MICHAEL PARTLOW, and Enticement,18 U.S.C.§ 2422(b) and
2427; Distribution of Child Pornography,
Defendant. 18 U.S.C. §§ 2252A(a)(2) and (b)(1);

Possession of Child Pornography, 18
U.S.C. § 2252A(a)(5)(B); Forfeiture, 18
U.S.C. §§ 2253 and 2428)

INDICTMENT

COUNTS ONE TO EIGHT
(Sexual Exploitation of a Child)

The Grand Jury for the District of Maryland charges that:

General Allegations:

1. Defendant ERIK MICHAEL PARTLOW (“PARTLOW”) was born in 2003 and
resided in Baltimore County, Maryland.

Be Minor Victim 1 was born in 2010 and was approximately 12 years old at the time
of the offenses committed against him. Minor Victim 1 resided in Michigan.

a. Minor Victim 2 was born in 2008 and was approximately 14 and 15 years old at the
time the offenses were committed against him. Minor Victim 2 resided in Minnesota.

4, Minor Victim 3 was born in 2005 and was approximately 16 years old at the time
of the offenses committed against him. Minor Victim 3 resided in Maryland.

5. Minor Victim 4 was born in 2007 and was approximately 16 years old at the time

of the offenses committed against him. Minor Victim 4 resided in Washington.

Case 1:24-cr-00026-BAH Document 20 Filed 01/30/24 Page 2 of 15

6. Minor Victim 5 was born in 2006 and was approximately 16 years old at the time
of the offenses committed against him. Minor Victim 5 resided in Kansas.

7. Minor Victim 6 was born in 2008 and was approximately 15 years old at the time
of the offenses committed against him. Minor Victim 6 resided in Indiana.

The Charges:

8. On or about the dates listed below, each instance being a separate count, in the
District of Maryland, the Eastern District of Michigan, the District of Minnesota, the Western
District of Washington, the District of Kansas, the Southern District of Indiana, and elsewhere,
the defendant,

ERIK MICHAEL PARTLOW,
did knowingly attempt to and did employ, use, persuade, include, entice, and coerce minor victims
to engage in sexually explicit conduct as defined in Title 18, United States Code, Section 2256(2),
for the purpose of producing any visual depiction of such conduct, knowing and having reason to
know that such a visual depiction would be transported and transmitted using any means and
facility of interstate and foreign commerce, such visual depiction was produced and transmitted
using materials that had been mailed, shipped and transported in and affecting interstate and
foreign commerce by any means, including by computer, and such visual depictions have actually
been transported and transmitted using any means and facility of interstate and foreign commerce

and in and affecting interstate or foreign commerce, and, as follows:

Count Date Details

Two video files, depicting Minor Victim 1’s exposed genitals
and Minor Victim’s exposed anus being penetrated by a pink
toothbrush, titled and partially titled:

1 July 9, 2023 e “...VM6N.mov”

e “...Meg5.mp.4”

said video files having been stored on an iPhone 7, serial
number DX3XJ15YHG6W, a product assembled in China.

2

Case 1:24-cr-00026-BAH Document 20 Filed 01/30/24 Page 3 of 15

Count

Date

Details

July 11, 2023

One video file titled and partially titled, “...cHPu.mp4,”
depicting Minor Victim 1’s exposed anus, said video file
having been stored on an iPhone 7, serial number

DX3XJ15YHG6W, a product assembled in China.

June 9, 2023

One image file titled and partially titled, “...KdrD.png,”
depicting Minor Victim 2’s exposed genitals, said image file
having been stored on an iPhone 7, serial number
DX3XJ15YHG6W, a product assembled in China.

July 10, 2023

One video file, titled and partially titled, “...qjkaUGH.mov,”
depicting Minor Victim 2’s exposed genitals, said video file
having been stored on an iPhone 7, serial number
DX3XJ15YHG6W, a product assembled in China.

February 23, 2022

Three image files depicting Minor Victim 3’s exposed genitals,
titled and partially titled:

e “...7F86.jpg”

e “...719F jpg”

e “...9674.jpg”

said image files having been stored on an iPhone 7 Plus, serial
number FCF VFO9LHG08, a product assembled in China.

September 4, 2023

A video file titled and partially titled, “...760B.mov,”
depicting Minor Victim 4’s exposed genitals, said video file
having been stored on an iPhone 7, serial number
DX3Z7W3RHG7E, a product assembled in China.

July 9, 2023

Two video files depicting Minor Victim 5’s exposed genitals
and anus, titled and partially titled:

e “...5133S.mov”

e “...Jb2_8R.mp4”

said video files having been stored on an iPhone 7, serial
number DX3XJ15YHG6W, a product assembled in China.

October 1, 2023

Two video files depicting Minor Victim 6’s exposed genitals
and anus, titled and partially titled:

e “...5274.mov”

e “...7451.mov”

said video files having been stored on an iPhone 7, serial
number C6KT22HHG6W, a product assembled in China.

18 U.S.C. § 2251(a) and (e)

Case 1:24-cr-00026-BAH Document 20 Filed 01/30/24 Page 4 of 15

COUNT NINE TO FOURTEEN
(Coercion and Enticement)

The Grand Jury for the District of Maryland further charges that:

1. The allegations set forth in paragraphs One through Seven of the General
Allegations of this Indictment are specifically referenced and incorporated herein.

2. On or about the dates listed below, each being a separate count, in the District of
Maryland, the Eastern District of Michigan, the District of Minnesota, the Western District of
Washington, the District of Kansas, the Southern District of Indiana, and elsewhere, the defendant,

ERIK MICHAEL PARTLOW,
using any facility and means of interstate and foreign commerce, knowingly attempted to and did
persuade, induce, entice, and coerce minors to engage in any sexual activity for which any person
could be charged with a criminal offense, that is, on the dates listed below, PARTLOW used his
text message, Instagram, and Snapchat internet-based accounts to persuade, induce, entice and
coerce the minor victims indicated below, to engage in sexually explicit conduct on camera and to
send PARTLOW the resulting images and videos via the internet, in violation of

18 U.S.C. §§ 2251(a) and 2252A(a)(2), and Md. Code, Crim. Law § 11-207(a)(1) as follows:

Count Date Victim
9 July 8, 2023 and July 11, 2023 Minor Victim 1
10 June 9, 2023 and July 10, 2023 Minor Victim 2
11 February 23, 2022 Minor Victim 3
12 September 4, 2023 Minor Victim 4
13 July 6, 2023 to July 11, 2023 Minor Victim 5
14 September 20, 2023 to October 1, 2023 Minor Victim 6

18 U.S.C. §§ 2422(b) and 2427

Case 1:24-cr-00026-BAH Document 20 Filed 01/30/24 Page 5 of 15

COUNT FIFTEEN
(Distribution of Child Pornography)

The Grand Jury for the District of Maryland further charges that:
On or about February 22, 2023, in the District of Maryland and elsewhere, the defendant,
ERIK MICHAEL PARTLOW,

did knowingly distribute any child pornography and any material that contained child
pornography, as defined in Title 18, United States Code, Section 2256(8), using any means and
facility of interstate and foreign commerce, and that had been mailed and had been shipped and
transported in and affecting interstate and foreign commerce, by any means including by computer,
that is, PARTLOW used his Snapchat internet-based account to distribute two video files, titled
and partially titled “...e3c6.mp4,” and “...ad0d4.mp4,” depicting Minor Victim 3’s exposed

genitals and masturbation.

18 U.S.C. §§ 2252A(a)(2) and (b)(1)

Case 1:24-cr-00026-BAH Document 20 Filed 01/30/24 Page 6 of 15

COUNT SIXTEEN
(Possession of Child Pornography)

The Grand Jury for the District of Maryland further charges that:
On or about October 24, 2023, in the District of Maryland, the defendant,
ERIK MICHAEL PARTLOW,

knowingly possessed any material that contained an image of child pornography, as defined in
Title 18, United States Code, Section 2256(8), which image had been shipped and transported
using any means or facility of interstate and foreign commerce and in and effecting interstate and
foreign commerce by any means, including by computer, and that was produced using materials
that had been mailed, shipped and transported in and affecting interstate and foreign commerce by
any means, including by computer, to wit: an iPhone 7, serial number DX3XJISYHG6W,
assembled in China, containing one or more visual depictions of minors engaged in sexually

explicit conduct.

18 U.S.C. §§ 2252A(a)(5)(B) & 2256

Case 1:24-cr-00026-BAH Document 20 Filed 01/30/24 Page 7 of 15

COUNT SEVENTEEN
(Possession of Child Pornography)

The Grand Jury for the District of Maryland further charges that:
On or about October 24, 2023, in the District of Maryland, the defendant,
ERIK MICHAEL PARTLOW,

knowingly possessed any material that contained an image of child pornography, as defined in
Title 18, United States Code, Section 2256(8), which image had been shipped and transported
using any means or facility of interstate and foreign commerce and in and effecting interstate and
foreign commerce by any means, including by computer, and that was produced using materials
that had been mailed, shipped and transported in and affecting interstate and foreign commerce by
any means, including by computer, to wit: an iPhone 8, serial number C7CWFC6CJC67,
assembled in China, containing one or more visual depictions of minors engaged in sexually

explicit conduct.

18 U.S.C. §§ 2252A(a)(5)(B) & 2256

Case 1:24-cr-00026-BAH Document 20 Filed 01/30/24 Page 8 of 15

COUNT EIGHTEEN
(Possession of Child Pornography)

The Grand Jury for the District of Maryland further charges that:
On or about October 24, 2023, in the District of Maryland, the defendant,
ERIK MICHAEL PARTLOW,

knowingly possessed any material that contained an image of child pornography, as defined in
Title 18, United States Code, Section 2256(8), which image had been shipped and transported
using any means or facility of interstate and foreign commerce and in and effecting interstate and
foreign commerce by any means, including by computer, and that was produced using materials
that had been mailed, shipped and transported in and affecting interstate and foreign commerce by
any means, including by computer, to wit: an iPhone 7, serial number DX3Z7W3RHG7F,
assembled in China, containing one or more visual depictions of minors engaged in sexually

explicit conduct.

18 U.S.C. §§ 2252A(a)(5)(B) & 2256

Case 1:24-cr-00026-BAH Document 20 Filed 01/30/24 Page 9 of 15

COUNT NINETEEN
(Possession of Child Pornography)

The Grand Jury for the District of Maryland further charges that:
On or about October 24, 2023, in the District of Maryland, the defendant,
ERIK MICHAEL PARTLOW,

knowingly possessed any material that contained an image of child pornography, as defined in
Title 18, United States Code, Section 2256(8), which image had been shipped and transported
using any means or facility of interstate and foreign commerce and in and effecting interstate and
foreign commerce by any means, including by computer, and that was produced using materials
that had been mailed, shipped and transported in and affecting interstate and foreign commerce by
any means, including by computer, to wit: an iPhone 7 Plus, serial number FCFVFO9LHGO08,
assembled in China, containing one or more visual depictions of minors engaged in sexually

explicit conduct.

18 U.S.C. §§ 2252A(a)(5)(B) & 2256

Case 1:24-cr-00026-BAH Document 20 Filed 01/30/24 Page 10 of 15

COUNT TWENTY
(Possession of Child Pornography)

The Grand Jury for the District of Maryland further charges that:
On or about October 24, 2023, in the District of Maryland, the defendant,
ERIK MICHAEL PARTLOW,

knowingly possessed any material that contained an image of child pornography, as defined in
Title 18, United States Code, Section 2256(8), which image had been shipped and transported
using any means or facility of interstate and foreign commerce and in and effecting interstate and
foreign commerce by any means, including by computer, and that was produced using materials
that had been mailed, shipped and transported in and affecting interstate and foreign commerce by
any means, including by computer, to wit: an iPhone 7, serial number F17WDIKGJSKM,
assembled in China, containing one or more visual depictions of minors engaged in sexually

explicit conduct.

18 U.S.C. §§ 2252A(a)(5)\(B) & 2256

10

Case 1:24-cr-00026-BAH Document 20 Filed 01/30/24 Page 11 of 15

COUNT TWENTY-ONE
(Possession of Child Pornography)

The Grand Jury for the District of Maryland further charges that:
On or about October 24, 2023, in the District of Maryland, the defendant,
ERIK MICHAEL PARTLOW,

knowingly possessed any material that contained an image of child pornography, as defined in
Title 18, United States Code, Section 2256(8), which image had been shipped and transported
using any means or facility of interstate and foreign commerce and in and effecting interstate and
foreign commerce by any means, including by computer, and that was produced using materials
that had been mailed, shipped and transported in and affecting interstate and foreign commerce by
any means, including by computer, to wit: an iPhone 7, serial number F17TH4Q3HX98, assembled

in China, containing one or more visual depictions of minors engaged in sexually explicit conduct.

18 U.S.C. §§ 2252A(a)(5)(B) & 2256

11

Case 1:24-cr-00026-BAH Document 20 Filed 01/30/24 Page 12 of 15

COUNT TWENTY-TWO
(Possession of Child Pornography)

The Grand Jury for the District of Maryland further charges that:
On or about October 24, 2023, in the District of Maryland, the defendant,
ERIK MICHAEL PARTLOW,

knowingly possessed any material that contained an image of child pornography, as defined in
Title 18, United States Code, Section 2256(8), which image had been shipped and transported
using any means or facility of interstate and foreign commerce and in and effecting interstate and
foreign commerce by any means, including by computer, and that was produced using materials
that had been mailed, shipped and transported in and affecting interstate and foreign commerce by
any means, including by computer, to wit: an iPhone 7, serial number C6KT22LHHG6W,
assembled in China, containing one or more visual depictions of minors engaged in sexually

explicit conduct.

18 U.S.C. §§ 2252A(a)(5)(B) & 2256

12

Case 1:24-cr-00026-BAH Document 20 Filed 01/30/24 Page 13 of 15

FORFEITURE ALLEGATION

The Grand Jury for the District of Maryland further finds that:

I, Pursuant to Federal Rule of Criminal Procedure 32.2, notice is hereby given to the
defendant that the United States will seek forfeiture as part of any sentence in accordance with 18
U.S.C. §§ 2253, and 2428, 21 U.S.C. § 853(p), and 28 U.S.C. § 2461(c), in the event of the
defendant’s convictions on any of the offense charged in Counts One through Eight, and Fifteen
through Twenty-Two of this Indictment.

Sexual Exploitation of Children and Distribution/Possession of Child Pornography
Forfeiture

2. Upon conviction of any of the offenses set forth in Counts One through Eight, and
Fifteen through Twenty-Two of this Indictment, the defendant,
ERIK MICHAEL PARTLOW,
shall forfeit to the United States, pursuant to 18 U.S.C. § 2253(a):

a. any visual depiction described in Title 18, United States Code, Sections, 2251,
2251A, 2252, or 2252A, 2252B, or 2260 or any book, magazine, periodical, film, videotape, or
other matter which contains any such visual depiction, which was produced, transported, mailed,
shipped, received, or possessed in violation of Title 18, United States Code, Chapter 110;

b. any property, real or personal, constituting or traceable to gross profits or other
proceeds obtained from such offense; and

c. any property, real or personal, used or intended to be used to commit or to
promote the commission of such offense or any property traceable to such property.

Coercion and Enticement Forfeiture

3, Upon conviction of any of the offenses set forth in Counts Nine through Fourteen
of this Indictment, the defendant,

ERIK MICHAEL PARTLOW,
13

Case 1:24-cr-00026-BAH Document 20 Filed 01/30/24 Page 14 of 15

shall forfeit to the United States, pursuant to 18 U.S.C. § 2428(a):

a. any interest in any property, real or personal, that was used or intended to be
used to commit or to facilitate the commission of such violation; and

b. any property, real or personal, constituting or derived from any proceeds that
such person obtained, directly or indirectly, as a result of such violation.

Property Subject to Forfeiture

4. The property to be forfeited includes, but is not limited to, the following items seized from
the defendant’s residence in Nottingham, Maryland, on or about October 23, 2023:

a. iPhone 7, serial number DX3XJ15YHG6W;

b. iPhone 8, serial number C7C WFC6CJC67;

c. iPhone 7, serial number DX3Z7W3RHG7F;

d. iPhone 7 Plus, serial number FCF VFO9LHGO8;

e. iPhone 7, serial number F17WDIKGJ5KM;

f. iPhone 7, serial number F17TH4Q3HX98; and

g. iPhone 7, serial number C6KT22LHHG6W

Substitute Assets

5. Ifany of the property described above, as a result of any act or omission of the defendant:

h. cannot be located upon the exercise of due diligence;

i. has been transferred or sold to, or deposited with, a third party;

j. has been placed beyond the jurisdiction of the Court;

k. has been substantially diminished in value; or

lL has been commingled with other property that cannot be subdivided without
difficulty;

14

Case 1:24-cr-00026-BAH Document 20 Filed 01/30/24 Page 15 of 15

the United States shall be entitled to forfeiture of substitute property pursuant to 21 U.S.C.
§ 853(p), as incorporated by 18 U.S.C. § 2253(b) and 28 U.S.C. § 2461(c).
18 U.S.C. §§ 2253 and 2428.

21 U.S.C. § 853(p)
28 U.S.C. § 2461(c)

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Erek L. Barron
United States Attorney

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15

